                   Case: 1:20-cv-00236 Document #: 14 Filed: 07/09/20 Page 1 of 1 PageID #:143
                                                    AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT                                                             Case #: 1:20-cv-236
NORTHERN DISTRICT OF ILLINOIS

                                         Republic Technologies (NA), LLC and Sream, Inc.
                                                                                                                     Plaintiff
                                                                   vs.

                                     Quick Mart Corporation d/b/a Go Lo and Cristen Maxwell
                                                                                                                    Defendant

The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all the times herein mentioned was a
citizen of the United States, over the age of 18, not a party to nor interested in the above entitled action, is competent to be witness
therein, and that I served copies of the:

                                    Summons & Complaint For Injunctive Relief and Damages

              PARTY SERVED:          QUICK MART CORPORATION D/B/A GO LO

            PERSON SERVED:           LUCAS CARILLO , CLERK

       METHOD OF SERVICE:            Corporate - By leaving copies with the person identified above who stated they were authorized
                                     to accept service.
 DATE & TIME OF DELIVERY:            05/12/2020 at 9:40 AM

ADDRESS, CITY AND STATE:             1116 E NEW YORK ST, AURORA, IL 60505

               DESCRIPTION:          Race: Hispanic Sex: Male               Age: 36
                                     Height: 5'10'' Weight: 170             Hair: Brown        Glasses: No


                                                                         I declare under penalties of perjury that the information contained
                                                                         herein is true and correct.
SUBSCRIBED AND SWORN to before me on the 12th
day of May, 2020.




                                                                         Signature:
NOTARY PUBLIC                                                                                       Nancy Porter
                                                                                            Registration No: 117-001119




                     Judicial Attorney Services, Inc. 2100 Manchester Rd., Ste 505 Wheaton, IL 60187, (630) 221-9007

CLIENT: Langone, Johnson & Cassidy, LLC                                                                                          Job #: 436377
FILE #:
